


 
   *827
   
  PER CURIAM.
 

  Earle A. Pickett appeals the summary denial of his motion for postconviction relief filed pursuant to Florida Rule of Criminal Procedure 3.850, which the postconviction court denied as untimely. We affirm.
  
   See Barrios-Cruz v. State,
  
  63 So.3d 868 (Fla. 2d DCA 2011). As in
  
   Barrios-Cruz,
  
  63 So.3d at 870, we hold that
  
   Padilla v. Kentucky,
  
  — U.S. -, 130 S.Ct. 1473, 176 L.Ed.2d 284 (2010), does not apply retroactively in postconviction proceedings and we certify to the Florida Supreme Court the following question of great public importance pursuant to Florida Rule of Appellate Procedure 9.030(a)(2)(A)(v):
 

  SHOULD THE RULING IN
  
   Padilla v. Kentucky,
  
  — U.S. -, 130 S.Ct. 1473, 176 L.Ed.2d 284 (2010), BE APPLIED RETROACTIVELY IN POSTCONVICTION PROCEEDINGS?
 

  Affirmed.
 

  DAVIS, KELLY, and LaROSE, JJ., Concur.
 
